          Case 1:21-cr-00725-RDM Document 71 Filed 12/19/22 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
               v.                               :       Case No. 21-CR-725 (RDM)
                                                :
JARED KASTNER,                                  :
                                                :
                                                :
                       Defendant.               :




                           DEFENDANT JARED KASTNER’S MOTION FOR
                                  TRIAL BY MAGISTRATE JUDGE




        NOW comes Defendant, Jared Kastner, by and through his counsel of record, John M.

Pierce, Esq., respectfully submits this request and waiver to this Honorable Court to proceed

to trial by magistrate judge of the district.

        Jared Kastner was charged with violations of 18 U.S.C. § 1752(a) (1), 40 U.S.C.

5104(e)(2)(D), and with 40 U.S.C. § 5104(e)(2)(D) and (G) by and through a criminal complaint

filed on May 3, 2022.

        Pursuant to 18 U.S.C. § 3401, a defendant that is charged with only misdemeanor may

elect to expressly waive a trial, judgment and sentencing by a district judge and does so either in

writing or by oral motion on the record.

        Therefore, notice is hereby given that Defendant Jared Kastner waives his right to a trial,

judgment, and sentencing by a district court judge and hereby elects to proceed to a trial by a

magistrate judge for the District of Columbia.




                                                    1
       Case 1:21-cr-00725-RDM Document 71 Filed 12/19/22 Page 2 of 3




Dated: December 19, 2022
                                         Respectfully submitted,

                                         /s/ John M. Pierce
                                         John M. Pierce
                                         John Pierce Law P.C.
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                                     2
      Case 1:21-cr-00725-RDM Document 71 Filed 12/19/22 Page 3 of 3




                         CERTIFICATE OF SERVICE

I, John M. Pierce, hereby certify that on this day, December 19, 2022, I caused a
copy of the foregoing document to be served on all counsel through the Court’s
                          CM/ECF case filing system.




                               /s/ John M. Pierce
                                 John M. Pierce




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